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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
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In re:                                                                       Chapter 11

           ZHANG MEDICAL P.C. d/b/a                                          Case No. 23-10678 (PB)
           NEW HOPE FERTILITY CLINIC,

                                             Debtor.
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                ORDER REGARDING PATIENT CARE OMBUDSMAN REPORT

           WHEREAS on September 12, 2023, the Court entered the Order to Show Cause Regarding

Failure to Comply With PCO Order [Docket No. 127] (the “Show Cause Order”) 1 directing the

Ombudsman to appear before the Court on Tuesday, September 19, 2023 at 1:00 p.m. (ET) to

show cause why the Court should not enter an appropriate remedy for his failure to comply with

his obligations to report on the quality of patient care pursuant to Bankruptcy Code § 333(b) and

the PCO Order;

           WHEREAS on September 13, 2023, the Ombudsman filed the Patient Care Ombudsman

Report [Docket No. 130] (the “Report”);

           WHEREAS on page 1 of the Report, the Ombudsman noted that his delay in preparing and

filing the Report was in part caused by the fact that “Debtor has not yet provided all of the

information requested by the [Ombudsman]”;

           WHEREAS on pages 5-7 of the Report, under the heading “Information Requested, but

Not Yet Received,” the Ombudsman outlines certain documents, communications, and other

records that he requested, but did not receive, from the Debtor;

           NOW THEREFORE, IT IS HEREBY




1
    Capitalized terms not defined herein shall have the meaning assigned to them in the Show Cause Order.
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        ORDERED that, in light of the filing of the Report, the Ombudsman David N. Crapo,

Esq., need not appear before the Court on Tuesday, September 19, 2023 at 1:00 p.m. (ET) to

answer the Show Cause Order; and it is further

        ORDERED that the Ombudsman is directed to comply with his reporting requirements

under Bankruptcy Code § 333(b) and the PCO Order in a timely fashion going forward, except as

provided herein; and it is further

        ORDERED that the Debtor is directed to produce all documents, communications, and

other records outlined in the Report at pages 5-7 under the heading “Information Requested, but

Not Yet Received” to the Ombudsman on a rolling basis as follows:

                   i.   Debtor shall make its first production on Friday, September 29, 2023;

                  ii.   Debtor shall make its second production on Friday October 6, 2023;

                 iii.   Debtor shall make its third and final production of documents on or before
                        Friday, October 13, 2023, such that all documents requested by the
                        Ombudsman are in the possession of the Ombudsman by this date, unless
                        the Debtor makes a showing of good cause for additional time to complete
                        the production; and it is further

        ORDERED that if, after a diligent search, the Debtor is unable to locate any particular

requested documents or communications, the Debtor shall file an affidavit on October 13, 2023,

identifying the requests that Debtor could not respond to and certifying that it does not have any

such responsive documents in its possession, custody, or control; and it is further

        ORDERED that the Ombudsman shall file his second report by October 30, 2023; and it

is further

        ORDERED that the Ombudsman shall file all subsequent reports required under the PCO

Order and Section 333 of the Bankruptcy Code not less frequently than at 60-day intervals from

the filing of the second report; and it is further
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       ORDERED that, upon notice from the Ombudsman that he needs additional time to review

the documents produced by Debtor before filing his report due October 30, 2023, the Court will

extend the deadline to file the second report for a reasonable amount of time to accommodate the

Ombudsman’s review of the Debtor’s documents.

Dated: New York, New York
       September 15, 2023



                                              /s/ Philip Bentley
                                             Hon. Philip Bentley
                                             United States Bankruptcy Judge
